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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

                                    :
    STATE OF MINNESOTA, BY ITS : Civil Action No.: 18cv14999(BRM)(RLS)
    ATTORNEY GENERAL, KEITH :
    ELLISON,                        :
                                    :
                   Plaintiff,       :
                                    : MOTION TO ENTER SETTLEMENT
              v.                    :    AGREEMENT, RELEASE,
                                    :          AND ORDER
    SANOFI-AVENTIS     U.S.    LLC, :
    NOVO NORDISK, INC., AND ELI :
    LILLY AND CO.,                  :
                                    :
                   Defendants.      :
                                    :

       Plaintiff, State of Minnesota, by its Attorney General Keith Ellison (the “State” or

 “Attorney General”) and Eli Lilly and Company (“Lilly”) seek to inform the Court that the

 State and Lilly have resolved the above-captioned litigation against Lilly by the attached

 Settlement Agreement, Release, and Order (the “Agreement”). The State and Lilly

 respectfully request that the Court order entry of the Agreement on the docket, including

 that the Attorney General shall dismiss with prejudice all of its respective claims against

 Lilly in the above-captioned litigation within ten (10) days of the Effective Date pursuant

 to the Agreement.




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  Respectfully submitted,                        Dated: February 7, 2024

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